              Case 1:18-cv-00169-LY Document 36 Filed 03/27/19 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

MARTHA GONZALEZ                                      §
                                                     §     CIVIL NO:
vs.                                                  §      AU:18-CV-00169-LY
                                                     §
CORECIVIC, INC., and CORECIVIC, INC.,                §
MARTHA GONZALEZ                                      §

                      ORDER SETTING INITIAL PRETRIAL CONFERENCE

        IT IS HEREBY ORDERED that the above entitled and numbered case has been set for an

INITIAL PRETRIAL CONFERENCE in Chambers, on the Seventh Floor of the United States

Courthouse, 501 West Fifth Street, Austin, Texas, on August 21, 2019 at 3:30 PM.

        The parties’ proposed scheduling order is tentatively approved and the parties shall comply with

the dates set forth in paragraphs 1 through 7 of such proposed order pending the initial pretrial

conference.

        FURTHER, the parties are notified that at the initial pretrial conference, the Court will schedule

a final pretrial conference and set a trial month.

              SIGNED this 27th day of March, 2019.




                                                         ______________________________
                                                         LEE YEAKEL
                                                         UNITED STATES DISTRICT JUDGE
